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|nnocent Georgians jailed over false
positives from drug field test kits

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DORAVILLE, Ga. - Innocent Georgians are winding up in jail -- sometimes for weeks --
because ofa positive tield drug test that ultimately winds up being reversed.

Law enforcement agencies across the country routinely use these 352 disposable tests as part ot`
their initial investigation when they suspect someone has drugs.

But a FOX 5 l-Team investigative revealed how police claim those tests showed positive results
for items that clearly had nothing to do with illegal drugs.

Cotton Candy. Goody's Headache Powder. Breath mints. Vitamins.

On their way home from a rare dinner out last October_ Simon Cotie and his wife Clarice Doku
were stopped by a Doraville police officer because he spotted a plastic cover over their license
plate. Simon told us he bought the cover at an auto parts store because he wanted to keep his
Dodge Charger looking clean and sharp.

According to the police video._ the Doraville officer also believed he smelled a "little odor of
marijuana." Simon and Clarice told us they do not smoke marijuana None was found.

"lt`l don't find anything_._ you guys can go on your way, ok?" the Doraville officer told them. "It`l
do find something, someone's going to jail tonight."

Scmeonc did go to jail._ but just like dozens of others across the country. it wasn't because they
had something illegal It's because a field drug test wrongly said they did.

"l said1 l know l'm innocent._" Clarice remembered "So whatever is going to come, l know l'm
innocen "

Simon and Clarice are newlywecls trying to have a baby. Last year she was taking a popular
vitamin -- t`olic acid ~~ in hopes of improving their chances. She said she put half the tablets in a
plastic baggy so she wouldn't forget to also take them at work.

Doraville police found that baggy in their glove compartment and immediately put the couple in
handcuffs, suspecting they were trafficking ecstasy. On the police bodycam video, you can hear
the officers discussing those tablets.

"It does look like X though," remarked one. "There's no markings on it."

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"She says it‘s folic acid._" a second Doraville officer replied. "She bought it at Wal-Mart, She split
it, putting half in here and half in the bottle when she's at work."

"With no inarkings?" asked the first officer. "Even vitamins have markings on them."

Actually, vitamins often do not have any markingsl To check their hunch. Doraville police did a
quick field test on those white tablets, using a NARK II field test kit manufactured by Sirchie,
which markets itself as "the world leader in criminal investigation and forensic

supplies." According to the Doraville police report, the white tablets tested positive for Ecstasy.

"We thought we were watching a movie._" remembered Simon. "We knew that this is folic acid.
A common vitamin. "

The couple wound up in the DeKalb County jail for two weeks until their public defender could
convince a judge to release them on a signature bond

"I kept crying all the time," Clarice admitted

"We've never been in jail in our life," said Sirnon. "And being there was like a different world to
melli

By the time they got out. the damage had been done. Clarice's employer fired her for not
showing up to work. Simon missed his swearing-in ceremony to become an American citizen.

Five months later, the GBI Crime lab released its cwn findings on those white tablets: negative
for controlled substances

The case was dropped. Charges dismissed.

"Do you think these tests are sending innocent people to jail?" l asked the couple.

"Yes," they said "And we are using ourselves as an example We want everybody to know.
whole country to be aware of this."

The FOX 5 I-Team asked the GBI Crime Lab for all negative drug test results from 201 ?. We
then researched to see how many of those criminal cases began with a positive field test. We
counted more than 3(}.

A man with a breath inint. Positive for crack.

A woman who insisted she had cotton candy. Positive for meth.

A teacher with headache powder in her wallet. Positive for cocaine.

A]] overturned by a more sophisticated GBI lab test.

So are the field tests themselves to blame? Or are the cops simply misreading the results? We

collected many of`the household products that law enforcement otiicers wrongly determined
tested positive for drugs and used the NARK II kits to test for ourselves

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Carefully following the instructions on the box, each test we conducted came back negative, the
solution not matching the color on the package that would indicate drugs are present.

Then we tested folic acid, the vitamin that Doraville police said was ecstasy. A positive reading
would be dark blue or purple.

Our test came back with a color that could be seen as dark red or purple. Could it be read as a
positive test'}l lt all depends on how well a cop can see colors.

ln a statement to the FOX 5 I-TeanL Sirchie would not address our questions about the possible
color confusion "Our NARK presumptive drug tests are presumptive only. All samples should
be sent to a crime lab f`or confirmation."

Each box carries that same warning There is no mandatory training in Georgia for police
officers to use these field tests.

Some agencies we contacted told the FOX 5 I-Team they would never make an arrest solely on a
positive field test. That includes Phil Price, a retired GBI agent who has worked drugs since the
19?05. l-Ie‘s now the commander of the Cherokee Multi-Agency Narcotics Squad.

"There's nothing that's 100 percent accurate that l Would stake my life." he pointed out.
"Certainly wouldn't stake sending somebody to jail."

As for Simon and Clarice, you might think life is back to normal now. But even dismissed
charges will haunt you. When we ran a background check on Clarice, we found her arrest on
drug trafficking charges.

She says no hilltime employer will hire her now. All because of` a bag of vitamins, and a test
some cops clearly trust way too much.

"We believe that America is an advanced country," Simon explained "This should not be
happening lt's putting a lot of people in trouble."

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